EXHIBIT 1
Gabriella Hernandez, Plaintiff, v. The Container Store, Inc., Defendant., Slip Copy (2024)
2024 WL 72657

                                                                   U.S.C. §§ 2710, et seq. Defendant filed the present Motion on
                     2024 WL 72657                                 August 8, 2023, and it is fully briefed. [Dkt. Nos. 19, 22, 26].
      Only the Westlaw citation is currently available.            On November 16, 2023, the Court heard oral argument and
       United States District Court, C.D. California.              took the Motion under submission. [Dkt. No. 32].

               Gabriella Hernandez, Plaintiff,
                                                                   III. LEGAL STANDARD
                             v.
                                                                   Under Rule 12(b)(6), a party may move to dismiss a complaint
            The Container Store, Inc., Defendant.
                                                                   for failure to state a claim upon which relief may be granted.
             Case No. 2:23-cv-05067-HDV-RAO                        “To survive a motion to dismiss, a complaint must contain
                              |                                    sufficient factual matter, accepted as true, to ‘state a claim to
                      Filed 01/03/2024                             relief that is plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S.
                                                                   662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550
                                                                   U.S. 544, 570 (2007)). “A claim has facial plausibility when
                                                                   the plaintiff pleads factual content that allows the court to
       ORDER GRANTING DEFENDANT'S
                                                                   draw the reasonable inference that the defendant is liable for
     MOTION TO DISMISS PLAINTIFF'S CLASS
                                                                   the misconduct alleged.” Iqbal, 556 U.S. at 678. Only where a
       ACTION COMPLAINT [DKT. NO. 19]
                                                                   plaintiff fails to “nudge[ ] [his or her] claims ... across the line
Hernán D. Vera United States District Judge                        from conceivable to plausible[,]” is the complaint properly
                                                                   dismissed. Id. at 680. While the plausibility requirement is not
I. INTRODUCTION                                                    akin to a probability requirement, it demands more than “a
 *1 Plaintiff Gabriela Hernandez brings this lawsuit against       sheer possibility that a defendant has acted unlawfully.” Id. at
Defendant The Container Store, Inc., a retailer of container       678. The determination of whether a complaint satisfies the
products, asserting it violates the Video Privacy Protection       plausibility standard is a “context-specific task that requires
Act (“VPPA”). Before the Court is Defendant's Motion to            the reviewing court to draw on its judicial experience and
Dismiss (“Motion”), which seeks dismissal of Plaintiff's           common sense.” Id. at 679.
First Amended Complaint on the grounds that it fails to
allege adequately three elements of a VPPA claim: (1) that
Defendant is a “video tape service provider,” (2) that Plaintiff   IV. DISCUSSION
is a “consumer,” and (3) that Defendant disclosed “personally      Congress enacted the VPPA in 1988 to “preserve personal
identifiable information.” The Court finds that the Complaint      privacy with respect to the rental, purchase or delivery
cannot state a VPPA claim, and for that reason dismisses           of video tapes or similar audio visual materials.” S. Rep.
the First Amended Complaint in its entirety without leave to       100-599 at 1 (1988); see also Mollett v. Netflix, Inc., 795
amend.                                                             F.3d 1062, 1066 (9th Cir. 2015) (“The VPPA was enacted in
                                                                   1988 in response to the Washington City Paper's publication
                                                                   of then-Supreme Court nominee Robert Bork's video rental
II. BACKGROUND                                                     history.”). The Act provides that “[a] video tape service
Defendant is a Texas corporation that operates retail stores       provider who knowingly discloses, to any person, personally
and an e-commerce website selling container products and           identifiable information concerning any consumer of such
associated goods. First Amended Complaint (“FAC”) ¶ 5              provider shall be liable to the aggrieved person ....” 18 U.S.C.
[Dkt. No. 17]. Plaintiff is a consumer privacy advocate who        § 2710(b)(1). To plead a claim under the VPPA, a plaintiff
watched a video titled “Custom Spaces” on Defendant's              must plausible allege that: (1) the defendant is a “video tape
website in 2023. Id. ¶ 4. As alleged, Defendant tracks such        service provider,” (2) the defendant disclosed “personally
“Page View Events” and videos on its website and reports           identifiable information concerning any [consumer]” to “any
certain information to TikTok, including the video title, ad       person,” (3) the disclosure was made knowingly, and (4)
information, the time the page was viewed, the User's IP           the disclosure was not authorized by Section 2710(b)(2).”
address, and the user's device make, model, operating system,      Mollett, 795 F.3d at 1066.
and browser information. Id. ¶¶ 14-15, 20, 27. On May 18,
2023, Plaintiff initiated this putative nationwide class action
asserting a violation of the Video Privacy Protection Act, 18        A. Video Tape Services Provider



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 *2 The VPPA defines a “video tape service provider”                            maintain its Website to deliver video
as “any person, engaged in the business, in or affecting                        content to consumers.... Defendant
interstate or foreign commerce, of rental, sale, or delivery                    produces and uses its own line of
of prerecorded video cassette tapes or similar audio visual                     videos to market the products offered
materials ....” 18 U.S.C. § 2710(a)(4). “[F]or the defendant to                 for sale on its Website.... Hosting and
be ‘engaged in the business’ of delivering video content, the                   monetizing video content is a key
defendant's product must not only be substantially involved                     part of Defendant's business model,
in the conveyance of video content to consumers but also                        as it uses the videos as a “trojan
significantly tailored to serve that purpose.” In re Vizio, Inc.,               horse” to collect and disclose viewers'
238 F. Supp. 3d 1204, 1221 (C.D. Cal. 2017); see id. (“When                     PII so it can later retarget them for
used in this context, ‘business’ connotes ‘a particular field                   advertisements.
of endeavor,’ i.e., a focus of the defendant's work.”). Indeed,
courts in the Ninth Circuit have recognized consistently that
delivering video content must be central to the defendant's         Id. ¶¶ 42, 45, 46. Plaintiff's references to Defendant's
business or product for the VPPA to apply. See, e.g., Carroll       “monetizing” the hosted “video content” do not include
v. Gen. Mills, Inc., No. 23-cv-1746-DSF-MRW, 2023 WL                allegations that Defendant sells such content or even receives
4361093, at *4 (C.D. Cal. June 26, 2023) (“The videos on            remuneration from TikTok but refer only to Defendant's
the website are part of Defendant's brand awareness, but            ability to “retarget” video viewers with future advertisements
they are not Defendant's particular field of endeavor. Nothing      for Defendant's products. Id. ¶¶ 21, 46. In Plaintiff's own
suggests that Defendant's business is centered, tailored,           words, the videos are aimed toward the sale of Defendant's
or focused around providing and delivering audiovisual              products and are a marketing tool to promote Defendant's
content.”); Cantu v. Tapestry, Inc., No. 22-cv-1974-BAS-            brand and website, nothing more. Plaintiff's contentions about
DDL, 2023 WL 6451109, at *4 (S.D. Cal. Oct. 3, 2023) (“That         the “significant expense” incurred in producing “numerous”
the videos are used for marketing purposes, as admitted in the      pre-recorded videos, id. ¶¶ 43–44, do not transmute this
SAC, demonstrates that they themselves are not Defendant's          “marketing channel” into the central focus of Defendant's
product and therefore are only peripheral to Defendant's            business. Defendant's videos, including the “Custom Spaces”
business.”). Applying this standard, the Court finds that the       video that Plaintiff viewed, market Defendant's goods; they
Complaint does not plausibly allege that Defendant is a video       are not themselves the goods on offer. It is not plausible
tape service provider under the VPPA. The Complaint alleges         to allege, as Plaintiff does here, that Defendant is “engaged
Defendant is a “a for-profit Texas corporation that operates        in the business” of delivering video content by including
retail stores and an e-commerce website selling container           on its website “pre-recorded videos,” such as the “Custom
products and associated goods.” Complaint ¶ 5. Plaintiff also       Spaces” video, that “market the products offered for sale
alleges that “Defendant owns, operates, and/or controls the         on its website.” Id. ¶¶ 4, 44–45. The Complaint fails to
Website and offers videos to watch through the Website.” Id.        allege how these “videos used for marketing purposes” are
¶ 8. The Complaint goes on to state:                                central, rather than “peripheral to Defendant's business.” See
                                                                    Cantu v. Tapestry, Inc., No. 22-cv-1974-BAS-DDL, 2023
                                                                    WL 6451109, at *4 (S.D. Cal. Oct. 3, 2023). Nor could any
             Defendant has developed its Website                    plausible amendment remedy this fatal deficiency.
             so that it is significantly tailored to
             deliver video content to consumers.
             The delivery of video content to                          B. Consumer
             consumers on the Website is a core                     The VPPA only applies to “consumers” defined as “any
             component of the Website, which                        renter, purchaser, or subscriber of goods or services from a
             is a critical marketing channel used                   video tape service provider.” 18 U.S.C. § 2710(a)(1). “In the
             by Defendant to attract potential,                     statute's full context, a reasonable reader would understand
             new customers and retain existing                      the definition of ‘consumer’ to apply to a renter, purchaser or
             customers with appealing video                         subscriber of audio-visual goods or services, and not goods
             content. Defendant has incurred                        or services writ large.” Carter v. Scripps Networks, LLC, ---
             significant expense to design and                      F. Supp. 3d ---, No. 22-cv-2031-PKC, 2023 WL 3061858,



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                                                                         on the fact that the “consumers” therein were alleged to
at *6. (S.D.N.Y. Apr. 24, 2023). Thus, as numerous courts
                                                                         be subscriber-consumers, rather than purchaser-consumers.
have recognized, the VPPA provides only “for an action by a
                                                                         Opp. at 12-14; see 18 U.S.C. § 2710(a)(1) (“consumer” means
renter, purchaser [or] subscriber of audio visual materials, and
                                                                         “any renter, purchaser, or subscriber of goods or services from
not a broader category of consumers.” Id. (emphasis added);
                                                                         a video tape service provider”). But Carter and similar cases
see also Salazar v. Glob., No. 3:22-CV-00756, 2023 WL
                                                                         explain without qualification that that the term “consumer”—
4611819, at *11 (M.D. Tenn. July 18, 2023) (holding that a
                                                                         the umbrella term used in the VPPA's operative provision—
“subscriber” is only a “consumer” under the VPPA “when
                                                                         applies only to a “renter, purchaser or subscriber of audio-
they subscribe to audio visual materials”); Tawam v. Feld Ent.
                                                                         visual goods or services.” Carter, 2023 WL 3061858, at *6.
Inc., No. 23-CV-357-WQH-JLB, 2023 WL 5599007, at *5
                                                                         Nor does Plaintiff offers any persuasive rationale for requiring
(S.D. Cal. July 28, 2023) (holding that complaint did not plead
                                                                         a nexus between a “subscriber” and the audiovisual content at
“the existence of a nexus between the [plaintiff's] alleged
                                                                         issue, but not between a “purchaser” and that same content.
subscription and the video content at issue”).

                                                                         The Court finds that Plaintiff's allegation that she purchased
 *3 Plaintiff alleges that she is a “purchaser” under the
                                                                         Defendant's products in the past, without alleging that
VPAA because she “has purchased products from Defendant
                                                                         she purchased any audio-visual goods or services from
in the past.” Complaint ¶ 29. Plaintiff does not allege that
                                                                         Defendant, is inadequate to allege that she is a “purchaser”
she purchased any “audio-visual goods or services” from
                                                                         within the meaning of the VPPA. Having failed to plausibly
Defendant, and indeed alleges that the “products” Defendant
                                                                         allege that Plaintiff is a “purchaser” of Defendant's video
sells are “container products and associated goods.” Id. ¶
                                                                         services, the Complaint does not adequately plead that she is
29. Plaintiff therefore cannot plead any “nexus” between her
                                                                         a “consumer” under the VPPA.
purchase and the “video content at issue.” Cf. Tawam, 2023
WL 5599007 at *5.
                                                                         V. CONCLUSION
Plaintiff argues that the litany of decisions recognizing                Plaintiff's FAC fails to state a VPPA claim on two
a nexus requirement are wrong, and in any event                          independent grounds. Because Plaintiff has already amended
distinguishable. Plaintiff's contrary interpretation focuses on          the complaint once as a matter of course, see [Dkt. Nos. 1, 17],
the supposed “plain meaning” of the isolated and undefined               and since the fatal deficiencies cannot plausibly be remedied
term “purchaser.” Opp. at 9. But “[i]n interpreting a statute ...        by further pleading, the Court finds that amendment would
courts are not to construe each phrase literally or in isolation.”       be futile and dismisses the First Amended Complaint without
Hunthausen v. Spine Media, LLC, No. 3:22-cv-1970-JES-                    leave to amend. See Kroessler v. CVS Health Corp., 977 F.3d
DDL, 2023 WL 4307163, at *3 (S.D. Cal. June 21, 2023)
                                                                         803, 815 (9th Cir. 2020). 1
(quoting Carter, 2023 WL 3061858, at *5). And in context,
“a reasonable reader would understand the definition of
‘consumer’ to apply to a ... purchaser ... of audio-visual               All Citations
goods or services, and not goods or services writ large.”
Id. Plaintiff's efforts to distinguish this line of cases focus          Slip Copy, 2024 WL 72657




                                                             Footnotes


1       Because the FAC fails to state a claim on the grounds discussed above, the Court does not reach the
        argument regarding “personally identifiable information” briefed by the parties.



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